    Case 9:24-cr-80116-AMC Document 96 Entered on FLSD Docket 01/15/2025 Page 1 of 1



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              The undersigned hereby acknowlçdgê: re'
                                                    ceipt of exhibit (s)
         listed below'for the following rçasontsl.:
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                                    V           other (Explain) PlaintiffExhibitNumbers:1-7                                                                                                      7 .'                                           . .,



                              Attàchments                                                   Signatupe :                                                    !
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